                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                              Case No. 14-CR-110

JOEY JAMES-ROBY
              Defendant.


                                          ORDER

      IT IS ORDERED that an amended judgment issue correcting the supervised release

term to indicate “three years” as orally pronounced. Fed. R. Crim. P. 36.

      Dated at Milwaukee, Wisconsin, this 18th day of February, 2015.

                                        /s Lynn Adelman
                                        LYNN ADELMAN
                                        District Judge




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